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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA

-V- : ORDER

 

YOSEF ZIEGLER : 19 Cr. 916(NSR)

Defendant.

The court finds that the ends of justice served by
granting a continuance outweigh the best interests of the public
and the defendant in a speedy trial, because it will allow
defense counsel the opportunity to prepare for and schedule an
appearance for a change of plea, which the parties expect will
resolve this matter without the need for trial. Accordingly, it
is further ORDERED that the time between November 30, 2020
through and including December 18, 2020 is hereby excluded under
the Speedy Trial Act, 18 U.S.C. § 3161(h) (7) (A), in the interests
of justice.

Dated: White Plains, New York SO ORDERED.
November 25, 2020 ep I,

 

The Honorable Nelson S. Roman
UNITED STATES DISTRICT JUDGE

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